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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                   CHARLESTON DIVISION


MARIO A. MASON,

                               Movant,

v.                                                     CIVIL ACTION NO. 6:07-cv-00445
                                                       (Criminal No. 6:04-cr-00127-5)

UNITED STATES OF AMERICA,

                               Respondent.


                                              ORDER

       This action was referred to the Honorable Mary E. Stanley, United States Magistrate Judge,

for submission to this court of proposed findings of fact and recommendation for disposition,

pursuant to 28 U.S.C. § 636(b)(1)(B). The Magistrate Judge has submitted findings of fact and has

recommended that the court FIND that the defendant’s § 2255 Motion was timely filed, but that the

grounds for relief are without merit and that the court DENY the movant’s Motion to Vacate, Set

Aside, or Correct Sentence. Neither party has filed objections to the Magistrate Judge’s findings

and recommendations.

       The failure to object to a magistrate judge’s report may be deemed a waiver of appeal of the

substance of the report and the court need only satisfy itself that there is no clear error on the face

of the record in order to accept the recommendation. See Camby v. Davis, 718 F.2d 198, 200 (4th

Cir. 1983); Campbell v. United States D. Ct. N.D. Cal., 501 F.2d 196, 206 (9th Cir. 1974). The

court has reviewed the Magistrate Judge’s findings of fact and recommendations and finds no clear

error on the face of the record. Therefore, the court accepts and incorporates herein the findings and
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recommendation of the Magistrate Judge and orders judgment consistent with the findings and

recommendations. The court DENIES the movant’s Motion to Vacate, Set Aside, or Correct

Sentence pursuant to 28 U.S.C. § 2255 [Docket 542] and DIRECTS the Clerk to send a copy of this

Order to counsel of record and any unrepresented party.

                                            ENTER:        April 29, 2009




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